
Charles Deng Acupuncture, P.C., as Assignee of Robenson, Joseph, Respondent,
againstOmni Indemnity Company, Appellant.




Freiberg, Peck &amp; Kang, LLP (Yilo Kang of counsel), for appellant.
The Rybak Firm, PLLC (Damin J. Toell of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (John J. Kelley, J.), entered April 19, 2017. The order, insofar as appealed from, denied defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is granted.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from so much of an order of the Civil Court as denied defendant's motion which had sought summary judgment dismissing the complaint on the ground that defendant had not issued an insurance policy covering the vehicle which was involved in the accident in question and that, therefore, plaintiff had sued the wrong party.
For the reasons stated in Island Life Chiropractic Pain Care, PLLC, as Assignee of Dorleans, Darlene v Omni Indem. Co. (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2017-526 K C], decided herewith), the order, insofar as appealed from, is reversed and defendant's motion for summary judgment dismissing the complaint is granted.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: March 15, 2019










